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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                            SAVANNAH DIVISION


 UNITED STATES OF AMERICA,

       v.                                            CASE NO.: 4:19-cr-145

 TUCKER CHAMBERS,

              Defendant.


                                      ORDER

      This matter comes before the Court on the Government’s Motion to Dismiss. (Doc. 91.)

Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, the Court GRANTS the

Government’s Motion and DISMISSES Defendant Tucker Chambers from the above-captioned

case without prejudice. The Court DENIES AS MOOT any pending motions as to Defendant

Tucker Chambers and DIRECTS the Clerk of Court to TERMINATE him from this case.

      SO ORDERED, this 17th day of January, 2020.




                                  R. STAN BAKER
                                  UNITED STATES DISTRICT JUDGE
                                  SOUTHERN DISTRICT OF GEORGIA
